AO 91 (Rev. 11/11) Criminal Complaint (modified 3/31/2020)


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Western District
                                                    __________       of Pennsylvania
                                                               District  of __________

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No.
                                                                    )                 20-965
                                                                    )
                HENRY SYLVAIN GINDT, II                             )        [UNDER SEAL]
                                                                    )
                           Defendant(s)


                              CRIMINAL COMPLAINT
                BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      May 4, 2020                in the county of              Allegheny           in the
     Western           District of          Pennsylvania        , the defendant(s) violated:

             Code Section                                                     Offense Description
18 U.S.C. 1341                                    Mail Fraud

18 U.S.C. 1343                                    Wire Fraud

18 U.S.C. 371                                     Conspiracy to Commit Mail/Wire Fraud




          This criminal complaint is based on these facts:
                Please see attached Affidavit in Support of Criminal Complaint.




          ✔ Continued on the attached sheet.
          ’

                                                                                               /s/ Chase A. Clowser
                                                                                               Complainant’s signature

                                                                                   Chase A. Clowser, Special Agent, USSS
                                                                                                Printed name and title

Sworn and subscribed before me, by telephone pursuant to Fed. R. Crim. P. 4.1(b)(2)(A).


Date:             05/04/2020
                                                                                                  Judge’s signature

City and state:                   Pittsburgh, Pennsylvania                    United States Magistrate Judge Lisa Pupo Lenihan
                                                                                                Printed name and title



        Print                        Save As...                  Attach                                                  Reset
